                                                                               Case:08-19209-EEB Doc#:1 Filed:06/27/08                                             Entered:06/27/08 11:49:33 Page1 of 5
                                                                     B1 (Official Form 1) (1/08)
                                                                                                            United States Bankruptcy Court
                                                                                                                  District of Colorado                                                                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                             Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Hein, Cheryl V
                                                                      All Other Names used by the Debtor in the last 8 years                                 All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                            (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): 7697                                                EIN (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                       Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      1548 Harrison Ave.
                                                                      Boulder, CO
                                                                                                                             ZIPCODE 80303                                                                          ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                             County of Residence or of the Principal Place of Business:
                                                                      Boulder
                                                                      Mailing Address of Debtor (if different from street address)                           Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                    ZIPCODE
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                                                                                         Type of Debtor                                       Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                    (Check one box.)                             the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                            ü Chapter 7                 Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)
                                                                          Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                     Chapter 9
                                                                                                                                                                                       Chapter 11
                                                                                                                                                                                                               Recognition of a Foreign
                                                                                                                                                                                                               Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                            Chapter 12              Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                         Chapter 13              Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                            Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                         Nature of Debts
                                                                                                                                   Other                                                                 (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                   ü   Debts are primarily consumer
                                                                                                                                                                                      debts, defined in 11 U.S.C.
                                                                                                                                                                                                                          Debts are primarily
                                                                                                                                                                                                                          business debts.
                                                                                                                                           (Check box, if applicable.)                § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under          individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the            personal, family, or house-
                                                                                                                                   Internal Revenue Code).                            hold purpose.”
                                                                                                   Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                        attach signed application for the court’s consideration certifying that the debtor   Check if:
                                                                        is unable to pay fee except in installments. Rule 1006(b). See Official Form           Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                        3A.                                                                                    affiliates are less than $2,190,000.
                                                                                                                                                               -----------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must         Check all applicable boxes:
                                                                        attach signed application for the court’s consideration. See Official Form 3B.         A plan is being filed with this petition
                                                                                                                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                         COURT USE ONLY
                                                                      ü  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     ü
                                                                     1-49      50-99         100-199      200-999       1,000-          5,001-           10,001-         25,001-          50,001-         Over
                                                                                                                        5,000           10,000           25,000          50,000           100,000         100,000
                                                                     Estimated Assets
                                                                     ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                               ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case:08-19209-EEB Doc#:1 Filed:06/27/08                                 Entered:06/27/08 11:49:33 Page2 of 5
                                                                     B1 (Official Form 1) (1/08)                                                                                                                            Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Hein, Cheryl V

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X   /s/ Barton S. Balis                                            6/27/08
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                     B1 (Official Form 1) (1/08)                                                                                                                                                    Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Hein, Cheryl V

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Cheryl V Hein                                                                      Signature of Foreign Representative
                                                                          Signature of Debtor                                        Cheryl V Hein
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          June 27, 2008
                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Barton S. Balis                                                               preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Barton S. Balis 481                                                               110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Balis & Barrett, PC                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          728 Pearl Street                                                                  chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Boulder, CO 80302                                                                 notice of the maximum amount before preparing any document for filing
                                                                          (303) 443-6924                                                                    for a debtor or accepting any fee from the debtor, as required in that
                                                                          jm@balisandbarrett.com                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          June 27, 2008
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X
                                                                          Signature of Authorized Individual

                                                                                                                                                            If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                            in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
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                                                                     Official Form 1, Exhibit D (10/06)
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                           Case No.
                                                                     Hein, Cheryl V                                                                                   Chapter 7
                                                                                                                Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                         WITH CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 15 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.][Summarize exigent
                                                                     circumstances here.]




                                                                     If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
                                                                     obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
                                                                     the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
                                                                     extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
                                                                     be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not
                                                                     satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be
                                                                     dismissed.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Cheryl V Hein
                                                                     Date: June 27, 2008
                                                                              Case:08-19209-EEB Doc#:1 Filed:06/27/08                      Entered:06/27/08 11:49:33 Page5 of 5
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Hein, Cheryl V                                                                          Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: June 27, 2008                    Signature: /s/ Cheryl V Hein
                                                                                                                         Cheryl V Hein                                                           Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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